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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


 BRADLEY C. REIFLER,
                                    Appellant,        No. 7:18-cv-02559-CS
                         -v-
                                                      On appeal from the United
 NORTH CAROLINA MUTUAL LIFE                           States Bankruptcy Court
 INSURANCE COMPANY,                                   for the Southern District of
                                                      New York
                                    Appellee.


          NOTICE OF APPELLEE’S RULE 8020 MOTION FOR
        REASONABLE ATTORNEYS’ FEES AND DOUBLE COSTS

      PLEASE TAKE NOTICE that pursuant to Federal Rule of Bankruptcy

Procedure 8020, Appellee North Carolina Mutual Life Insurance Company hereby

moves for its reasonable attorneys’ fees and double its costs incurred in defending

this frivolous appeal.

Dated: March 29, 2018                    SQUIRE PATTON BOGGS (US), LLP

                                      By:   /s/ Norman N. Kinel
                                            Norman N. Kinel, Esq.
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                                            Attorneys for Appellee North
                                            Carolina Mutual Life Insurance
                                            Company




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